       Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 1 of 18




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

       Plaintiffs/Counter-Defendants,
                                                   No. 1:21-cv-00445
v.

MY PILLOW, INC., et al.,

       Defendants/Counter and Third-Party
       Plaintiffs,

v.

SMARTMATIC USA CORP., et al.,

       Third-Party Defendants



     UNITED STATES’ OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
            Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 2 of 18




                                                     TABLE OF CONTENTS
INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 1

I.        The Underlying Litigation .................................................................................................. 1

II.       The Instant Subpoena Matter .............................................................................................. 2

LEGAL STANDARD..................................................................................................................... 5

ARGUMENT .................................................................................................................................. 6

I.        Wells’ Testimony Is Not Relevant to Any Claim or Defense in US Dominion. ................ 6

II.       Compelling Wells’ Testimony Would Impose an Undue Burden on the United
          States. .................................................................................................................................. 8

          A.         The requested testimony is cumulative of information in the public record. ......... 9

          B.         The requested testimony regarding Montgomery’s history can be obtained
                     more conveniently from Montgomery and is unreasonably duplicative of
                     such testimony. ..................................................................................................... 11

          C.         The requested testimony implicates Executive Branch privileges. ...................... 12

CONCLUSION ............................................................................................................................. 14




                                                                         ii
            Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 3 of 18




                                               TABLE OF AUTHORITIES

Cases

Alexander v. FBI,
  186 F.R.D. 188 (D.D.C. 1999) .................................................................................................. 13

Am. Fed’n of State, Cnty. & Mun. Emps., AFL-CIO v. Project Veritas Action Fund,
 No. 1:21-mc-133, 2022 WL 3655277 (D.D.C. Aug. 25, 2022) ............................................ 9, 12

Breiterman v. U.S. Capitol Police,
  323 F.R.D. 36 (D.D.C. 2017) .................................................................................................... 12

BuzzFeed, Inc. v. DOJ,
  318 F. Supp. 3d 347 (D.D.C. 2018) ........................................................................................ 5, 8

Colonial BancGroup, Inc. v. PricewaterhouseCoopers LLP,
 110 F. Supp. 3d 37 (D.D.C. 2015) ............................................................................................ 11

Covad Commc’ns Co. v. Bell Atl. Corp.,
  407 F.3d 1220 (D.C. Cir. 2005) ................................................................................................ 10

Diamond Servs. Mgmt. Co., LLC v. Knobbe, Martens, Olson & Bear, LLP,
  339 F.R.D. 334 (D.D.C. 2021) ...................................................................................... 5, 6, 9, 11

Exxon Shipping Co. v. U.S. Dep’t of Interior,
  34 F.3d 774 (9th Cir. 1994) ......................................................................................................... 8

Flatow v. Islamic Republic of Iran,
  201 F.R.D. 5 (D.D.C. 2001) ............................................................................................ 6, 10, 12

*Food Lion, Inc. v. United Food & Com. Workers Int’l Union, AFL–CIO–CLC,
  103 F.3d 1007 (D.C. Cir. 1997) .................................................................................................. 6

Freeman v. Seligson,
  405 F.2d 1326 (D.C. Cir. 1968) ................................................................................................ 13

Harrington v. Bergen Cnty.,
 No. 14-cv-5764, 2017 WL 4387373 (D.N.J. Oct. 3, 2017)......................................................... 9

Herbert v. Lando,
 441 U.S. 153 (1979) .................................................................................................................... 6

In re Sealed Case,
  494 F.3d 139 (D.C. Cir. 2007) .................................................................................................... 7

Lewis v. DEA,
  777 F. Supp. 2d 151 (D.D.C. 2011) .......................................................................................... 10


                                                                    iii
           Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 4 of 18




Micro Motion, Inc. v. Kane Steel Co., Inc.,
 894 F.2d 1318 (Fed. Cir. 1990) ................................................................................................... 7

Motion to Compel Compliance with Subpoena Direct to Dep’t of Veterans Affairs,
 257 F.R.D. 12 (D.D.C. 2009) .................................................................................................. 6, 7

Northrop Corp. v. McDonnell Douglas Corp.,
  751 F.2d 395 (D.C. Cir. 1984) .................................................................................................... 6

*St. John v. Napolitano,
  274 F.R.D. 12 (D.D.C. Mar. 31, 2011) ................................................................................. 6, 13

Sterne Kessler Goldstein & Fox, PLLC v. Eastman Kodak Co.,
  276 F.R.D. 376 (D.D.C. 2011) ............................................................................................ 11, 13

Tequila Centinela, S.A. de C.V. v. Bacardi & Co. Ltd.,
  242 F.R.D. 1 (D.D.C. 2007) .............................................................................................. 5, 8, 10

United States v. All Assets Held in Acct. No. XXXXXXXX,
 No. 13-cv-1832, 2019 WL 95605 (D.D.C. Jan. 3, 2019) .......................................................... 13

Vire v. Entergy Operations, Inc.,
  No. 4:15-cv-214, 2016 WL 10576707 (E.D. Ark. Sept. 28, 2016) ........................................... 13

*Watts v. SEC,
 482 F.3d 501 (D.C. Cir. 2007) ........................................................................................... passim

Rules

Federal Rule of Civil Procedure 26 ...................................................................................... 5, 9, 12

Federal Rule of Civil Procedure 45 ................................................................................................ 5

Federal Rule of Evidence 803(8) .................................................................................................. 11




                                                                 iv
        Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 5 of 18




                                        INTRODUCTION
       These miscellaneous proceedings arise out of the defamation action US Dominion, Inc. v.

My Pillow, Inc., No. 21-cv-445 (D.D.C.) (“US Dominion”). In that action, US Dominion, Inc. and

its related corporate entities (collectively, “Dominion”) allege that Michael J. Lindell made

defamatory statements regarding the use of Dominion’s election technology in the 2020

presidential election. Although Department of Justice (“DOJ”) attorney Carlotta Wells has no

personal knowledge of any facts bearing on the truth or falsity of those statements, Lindell and his

company, My Pillow, Inc. (collectively, “Movants”), have inexplicably subpoenaed Wells’

testimony not about the facts or allegations in US Dominion but about an unrelated seventeen-

year-old case, Montgomery v. eTreppid Technologies, Inc., No. 6-cv-56 (D. Nev.), in which Wells

represented the United States as trial counsel. The requested testimony purportedly concerns

actions she took on behalf of the United States to protect its privileged information, including filing

a motion for a protective order pursuant to the state-secrets privilege and attending hearings and

depositions.

       Setting aside that Movants’ requested testimony is a matter of public record in court filings

and transcripts, as even Movants concede, this testimony has no relevance to any plausible defense

or claim in US Dominion. Alternatively, Movants’ request implicates privileged information to

which they clearly are not entitled or information that is available from a more convenient source.

Because this Court’s determination appropriately considers the burden of discovery on a non-party,

such as DOJ, these grounds are sufficient to deny the instant motion.

                                         BACKGROUND

I.     The Underlying Litigation

       This dispute arises out of a third-party subpoena issued in US Dominion. In that case,

Dominion sued Movants over Lindell’s allegedly defamatory statements regarding the use of

                                                  1
         Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 6 of 18




Dominion’s election technology in the 2020 presidential election. See Compl. and Demand for

Jury Trial (“Compl.”), ECF No. 1.

         Dominion details a litany of Lindell’s allegedly defamatory statements made across

multiple platforms, including live rallies, radio and television appearances, social media, a self-

produced “docu-movie,” and more. Id. ¶ 165. Specially, Dominion alleges that Lindell repeatedly

and falsely stated that “Dominion machines were programmed with an algorithm—or were

hacked—to weight votes, shift votes, or otherwise manipulate vote counts to steal the 2020

election.” Id. ¶ 167. Dominion alleges that Lindell intentionally spread this false information in

order to “sell[] pillows.” Id. ¶ 1.

II.      The Instant Subpoena Matter

         By letter dated February 14, 2023, Movants subpoenaed Wells, current Assistant Branch

Director and former Senior Trial Counsel of the Federal Programs Branch in the Civil Division of

DOJ. See Decl. of Andrew D. Parker (“Parker Decl.”), Ex. K (“Subpoena”), ECF No. 182-4 at

316. The subpoena inexplicably sought Wells’ testimony concerning her representation of the

United States in its assertion of the state-secrets privilege in an unrelated copyright infringement

lawsuit nearly two decades ago. See Montgomery v. eTreppid Technologies, Inc., No. 6-cv-56 (D.

Nev.).

         The eTreppid lawsuit was initiated in 2006 as an ownership dispute between eTreppid

Technologies, Inc. and its former employee, officer, and director Dennis Montgomery over certain

software allegedly developed by him. See Compl., eTreppid, No. 6-cv-56 (D. Nev. Jan. 31, 2006),

ECF No. 1. Montgomery subsequently also asserted claims against the Department of Defense

(“DoD”), seeking a declaration that a classified information nondisclosure agreement he executed

with a DoD agency did not preclude him from disclosing information allegedly necessary to his



                                                 2
         Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 7 of 18




claims and defenses in eTreppid. See First Am. Compl., eTreppid, No. 6-cv-56 (D. Nev. Feb. 21,

2006), ECF No. 7 ¶¶ 68–74. The United States moved to dismiss those claims, which the court

granted. Order, eTreppid, No. 6-cv-56 (D. Nev. May 24, 2007), ECF No. 177 at 6. 1

        While its motion to dismiss was pending, the United States moved for entry of a protective

order, see Notice of Mot. & Mot. for P.O. by the U.S., eTreppid, No. 6-cv-56 (D. Nev. Sept. 25,

2006), ECF No. 83-1, which the court entered, see Protective Order, eTreppid, No. 6-cv-56 (D.

Nev. Aug. 29, 2007), ECF No. 253 (“Protective Order”). The Protective Order prohibited

“discovery or disclosure” of two narrow categories of information: (1) “the existence or non-

existence of any actual or proposed relationship” between the parties and any U.S. intelligence

agency and (2) any “actual or proposed intelligence agency interest in, application of or use of any

technology, software or source code owned or claimed by the Parties.” Id. ¶¶ 1–3. The Protective

Order expressly exempted from its coverage any discovery regarding “[t]he computer source code,

software, programs, or technical specifications relating to any technology owned or claimed by

any of the Parties,” id. ¶ 4(c), and any “actual or potential commercial or government applications

of” this technology, so long as it did not relate to the aforementioned categories concerning U.S.

intelligence agencies, id. ¶ 4(e).

        Despite the passage of almost two decades and a lack of any connection between eTreppid

and the 2020 election, Movants subpoenaed Wells in the instant matter purportedly to “provide

information showing that Mr. Lindell’s reliance on Mr. Montgomery and the information he stated

he possessed was reasonable.” Subpoena at 344. Pursuant to its Touhy regulations and the Federal




1
        Montgomery, eTreppid Technologies, Inc., and related parties eventually settled, and the
court dismissed the case with prejudice on February 19, 2009. Order, eTreppid, No. 6-cv-56 (D.
Nev. Feb. 19, 2009), ECF No. 962 ¶¶ 1–2.
                                                 3
        Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 8 of 18




Rules of Civil Procedure, DOJ declined to authorize Wells’ testimony on numerous grounds,

including relevance, privilege, burden, and lack of personal knowledge.

       On August 7, 2023, Movants filed the instant motion to compel Wells’ testimony. See

Defs.’ Mot. to Compel Depo. Test. of Carlotta Wells, ECF No. 182; Defs.’ Mem. in Support of

Mot. to Compel Subpoena Compliance by Carlotta Wells, ECF No. 182-1 (“Mem.”). Movants

seek to compel the following testimony:

       Movants moved to compel her testimony on the following topics:

       [1.]   Montgomery worked on U.S. government programs that involved
       information protected by the state secrets privilege;

       [2.]   The federal government undertook active measures to prevent Montgomery
       from disclosing state secrets;

       [3.]   Wells was tasked with monitoring Montgomery from 2006 through at least
       2011 to prevent Montgomery from disclosing in court proceedings certain
       information related to his work for the federal government;

       [4.]    In 2008, Wells attended a deposition of Montgomery, bringing along two
       federal agents whose full names and specific employer she refused to identify, in
       order to prevent disclosure of any state secrets in Montgomery’s testimony;

       [5.]   In 2010, the federal government seized boxes of documents related to
       Montgomery’s work for the federal government from the office of Montgomery’s
       attorney, and Wells reviewed those documents for state secrets, removing some
       documents to prevent disclosure of their contents;

       [6.]   Wells engaged in discussions with Montgomery on multiple occasions
       concerning the scope of the state secrets privilege and what information
       Montgomery was permitted to disclose or prohibited from disclosing;

       [7.]    Wells engaged in discussions with Montgomery in which she threatened
       that he would suffer negative consequences if he disclosed his work for the federal
       government;

       [8.]    The information known by Montgomery that Wells was tasked with
       protecting from at least 2006-2011 continues to be subject to the state secrets
       privilege today[; and]

       [9.]  Publicly available documents mentioning Wells accurately reflect what
       happened, or, if not, what is not accurate in those public documents.
                                               4
        Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 9 of 18




Mem. 7–8. 2

       Movants admittedly seek Wells’ testimony only to “confirm[] information that is already

in the public record” about “Montgomery’s work for the federal government,” id. at 6, 8, which

they contend will establish “the reasonability of Lindell’s reliance on Montgomery’s work” and

“the accuracy of the statements made by Lindell, in reliance upon Montgomery, concerning the

2020 election.” Id. at 6. The Court should deny their motion.

                                     LEGAL STANDARD

       Federal Rule of Civil Procedure 45 governs disputes over third-party subpoenas to agencies

in civil litigation. See Watts v. SEC, 482 F.3d 501, 503, 507 (D.C. Cir. 2007). Because Rule 45

incorporates the relevancy requirement of Federal Rule of Civil Procedure 26, “the Court must

first consider ‘whether the discovery sought is relevant to a party’s claim or defense in the

underlying litigation.’” Diamond Servs. Mgmt. Co., LLC v. Knobbe, Martens, Olson & Bear, LLP,

339 F.R.D. 334, 338 (D.D.C. 2021) (quoting BuzzFeed, Inc. v. DOJ, 318 F. Supp. 3d 347, 356

(D.D.C. 2018)). The party seeking the third-party discovery bears the burden of demonstrating its

relevance to the underlying litigation. See Tequila Centinela, S.A. de C.V. v. Bacardi & Co. Ltd.,

242 F.R.D. 1, 9 (D.D.C. 2007).

       “Next, the court must assess any objections to the subpoena under the standards supplied

by Rule 45, which ‘requires that district courts quash subpoenas that call for privileged matter or

would cause an undue burden.’” Diamond Servs. Mgmt. Co., 339 F.R.D. at 338 (quoting

BuzzFeed, Inc, 318 F. Supp. 3d at 356); accord Watts, 482 F.3d at 508. The resisting party bears




2
      These topics differ slightly from the topics specified in Movants’ “Touhy Summary of
Information Sought and Relevance” submitted with their subpoena. See Subpoena at 347.
Movants apparently have redefined the testimony sought for purposes of this motion.
                                                5
       Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 10 of 18




the burden of establishing undue burden. See Flatow v. Islamic Republic of Iran, 201 F.R.D. 5, 8

(D.D.C. 2001) (citing Northrop Corp. v. McDonnell Douglas Corp., 751 F.2d 395, 403 (D.C. Cir.

1984)). However, “[c]oncern for the unwanted burden thrust upon non-parties is a factor entitled

to special weight in evaluating the balance of competing needs.” Diamond Servs. Mgmt. Co., 339

F.R.D. at 339 (quoting Watts, 482 F.3d at 509). And a court’s obligation to avoid imposing undue

burden is “particularly acute” when a third-party subpoena is directed toward the United States.

In re Motion to Compel Compliance with Subpoena Direct to Dep’t of Veterans Affairs (“In re

Veterans Affairs”), 257 F.R.D. 12, 18 (D.D.C. 2009).

                                        ARGUMENT

I.     Wells’ Testimony Is Not Relevant to Any Claim or Defense in US Dominion.

       Wells has no personal knowledge of any facts relevant to the claims or defenses in US

Dominion. The relevance standard is “not so liberal as to allow a party to roam in shadow zones

of relevancy and to explore matter which does not presently appear germane on the theory that it

might conceivably become so.” St. John v. Napolitano, 274 F.R.D. 12, 16 (D.D.C. Mar. 31, 2011)

(quoting Food Lion, Inc. v. United Food & Com. Workers Int’l Union, AFL–CIO–CLC, 103 F.3d

1007, 1012 (D.C. Cir. 1997)). Indeed, the Supreme Court has emphasized that the relevancy

requirement “should be firmly applied, and the district courts should not neglect their power to

restrict discovery where ‘justice requires [protection for] ‘a party or person from annoyance,

embarrassment, oppression, or undue burden or expenses.’” Herbert v. Lando, 441 U.S. 153, 177

(1979) (alteration in original) (citation omitted). This Court should not countenance Movants’

inexplicable attempts to compel testimony from Wells concerning her representation of the United




                                               6
        Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 11 of 18




States as trial counsel in asserting and protecting an unrelated state-secrets privilege seventeen

years ago.

       By its own terms, the motion to compel does not seek any information bearing on the truth

or reasonableness of the alleged defamatory statements in US Dominion. And indeed, Wells has

no personal knowledge—and Movant do not contend otherwise—of the truth or reasonableness of

any of the alleged defamatory statements. In particular, Wells has no personal knowledge of

whether “Dominion machines were programmed with an algorithm—or were hacked—to weight

votes, shift votes, or otherwise manipulate vote counts to steal the 2020 election.” Compl. ¶ 167.

Wells’ requested testimony is therefore irrelevant on its face.

       Rather than argue that Wells’ testimony has any bearing on the alleged defamatory

statements themselves, Movants seek to compel testimony from Wells on the unfounded

speculation that details surrounding the United States’ assertion of the state-secrets privilege

seventeen years ago would legitimize Lindell’s contemporary claims about the 2020 election.

There is a “crucial distinction” between permitting discovery to “flesh out a pattern of facts already

known” and “the illegitimacy of permitting discovery against a third party premised on an

unfounded suspicion,” as here. In re Veterans Affairs, 257 F.R.D. at 17 (citing Micro Motion, Inc.

v. Kane Steel Co., Inc., 894 F.2d 1318, 1326 (Fed. Cir. 1990)). The United States’ assertion of the

state-secrets privilege in eTreppid has no bearing whatsoever on the issues in US Dominion. See

In re Sealed Case, 494 F.3d 139, 145 (D.C. Cir. 2007) (noting that when the state-secrets privilege

is invoked, “[t]he result is simply that the evidence is unavailable, as though a witness had died”

(citation and quotations omitted)). Movants accordingly cannot weaponize that assertion as a

defense in unrelated defamation litigation nearly two decades later.




                                                  7
       Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 12 of 18




       Indeed, this is not the first time Movants have attempted to resuscitate the long-dismissed

eTreppid as allegedly necessary to their defenses in this action. Lindell and Montgomery each

separately moved the eTreppid court to lift the Protective Order obtained by Wells on behalf of

the United States. See Lindell’s Mot. to Intervene and to Lift P.O., eTreppid, No. 6-cv-56 (D. Nev.

Aug. 20, 2022), ECF No. 1216; Montgomery’s Mot. to Restrict Application of the State Secrets

Privilege, the P.O., & the Classified Info. Nondisclosure Agreement, eTreppid, No. 6-cv-56 (D.

Nev. Nov. 14, 2022), ECF No. 1236 (“Montgomery’s Mot. to Restrict”). But the eTreppid court

denied both motions, explaining that any alleged connection between the Protective Order and

Montgomery’s “information” is “non-existent or tenuous at best,” Order, eTreppid, No. 6-cv-56

(D. Nev. Aug. 4, 2023), ECF No. 1265 at 1, 5, and that the Protective Order is “unrelated” to the

defamation litigation, id. at 2–3, 5. This Court should not countenance Movants’ second attempt

at resuscitation here by compelling a third-party deposition of such clearly dubious relevance.

Accordingly, their motion should be denied.

II.    Compelling Wells’ Testimony Would Impose an Undue Burden on the United
       States.

       The Court alternatively should deny Movants’ motion because it imposes an undue burden

on the United States pursuant to Rule 45. Preliminarily, the government has a “serious and

legitimate concern that its employee resources not be commandeered into service by private

litigants to the detriment of the smooth functioning of government operations.”             Watts,

482 F.3d at 509 (quoting Exxon Shipping Co. v. U.S. Dep’t of Interior, 34 F.3d 774, 779 (9th Cir.

1994)). Wells is a current Assistant Branch Director within DOJ, and subjecting her to a deposition

would improperly “commandeer[]” government resources. See BuzzFeed, Inc., 318 F. Supp. 3d

at 359 (collecting cases where courts rejected requests for testimony of current government

employees as unduly burdensome).

                                                8
       Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 13 of 18




       The requested testimony also provides “slim chance of a ‘likely benefit,’” Diamond Servs.

Mgmt. Co., LLC, 339 F.R.D. at 340 (citing Fed. R. Civ. P. 26(b)(1)), given its irrelevance to the

defenses in US Dominion, as explained above, see supra § I. Any “speculative benefit” therefore

does not outweigh “the burden to the parties and to the court’s resources.” Harrington v. Bergen

Cnty., No. 14-cv-5764, 2017 WL 4387373, at *2 (D.N.J. Oct. 3, 2017) (affirming denial of

discovery “concerning an unrelated criminal investigation that occurred nearly nine years ago” on

the basis of proportionality and undue burden).

       That conclusion is alternatively reached upon consideration of the Watts factors:

       (1) whether the discovery sought is “unreasonably cumulative or duplicative”; (2)
       whether the discovery sought “can be obtained from some other source that is more
       convenient, less burdensome, or less expensive”; and (3) whether the discovery
       sought is “proportional to the needs of the case[,]” taking into account “the
       importance of the issues at stake in the action, the amount in controversy, the
       parties’ relative access to relevant information, the parties’ resources, the
       importance of the discovery in resolving the issues, and whether the burden or
       expense of the proposed discovery outweighs its likely benefit.”

Am. Fed’n of State, Cnty. & Mun. Emps., AFL-CIO v. Project Veritas Action Fund, No. 1:21-mc-

133, 2022 WL 3655277, at *3 (D.D.C. Aug. 25, 2022) (citation omitted); see also Fed. R. Civ. P.

26(b)(1), (b)(2)(C); accord Watts, 482 F.3d at 509. All three of these factors weigh against

Movants.

       A. The requested testimony is cumulative of information in the public record.

       Movants’ refined topics are already available in the public record. Movants themselves

concede that Wells’ testimony will “confirm[] information that is already in the public record.”

Mem. 8. In particular, Movants seek Wells’ testimony that “[t]he federal government undertook

active measures to prevent Montgomery from disclosing state secrets”; that she “was tasked with

monitoring Montgomery from 2006 through at least 2011 to prevent Montgomery from disclosing

in court proceedings certain information related to his work for the federal government”; that “[i]n


                                                  9
          Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 14 of 18




2008, Wells attended a deposition of Montgomery . . . in order to prevent disclosure of any state

secrets in Montgomery’s testimony”; and that “[p]ublicly available documents mentioning Wells

accurately reflect what happened, or, if not, what is not accurate in those public documents.” Id.

at 7–8.

          But the United States’ unclassified filings entered on the public docket in eTreppid speak

for themselves in establishing any “active measures” to protect the Federal Government’s state

secrets. See, e.g., Notice of Mot. & Mot. for P.O. by the U.S., eTreppid, No. 6-cv-56 (D. Nev.

Sept. 25, 2006), ECF No. 83-1; U.S.’s Mot. for P.O., eTreppid, No. 6-cv-56 (D. Nev. Sept. 25,

2006), ECF No. 83-2 (including declaration from Director of National Intelligence asserting state-

secrets privilege). So too do the voluminous hearing and deposition transcripts already in

Movants’ possession. See, e.g., Parker Decl. Ex. E (transcript of July 3, 2008 hearing filed in

eTreppid); Parker Decl. Ex. F (transcript of July 8, 2008 hearing filed in eTreppid); Parker Decl.

Ex. G (transcript of Sept. 3, 2008 hearing filed in eTreppid); Parker Decl. Ex. I (transcript of Jan.

14, 2011 video deposition filed in In re: Dennis and Kathleen Montgomery, No. 2:10-bk-18510-

bb (Bankr. C.D. Cal.)); ECF No. 182-4 at 150 (transcript of Nov. 18, 2010 deposition filed in In

re: Dennis and Kathleen Montgomery). 3

          Courts may “take judicial notice of public records from other court proceedings.” Lewis v.

DEA, 777 F. Supp. 2d 151, 159 (D.D.C. 2011) (citing Covad Commc’ns Co. v. Bell Atl. Corp., 407



3
         Indeed, the eTreppid court rejected as redundant Lindell’s request for an order lifting the
Protective Order to allow him to use information he allegedly obtained from Montgomery. Order,
eTreppid, No. 6-cv-56 (D. Nev. Aug. 4, 2023), ECF No. 1265 at 2–3. The court explained that the
“plain language” of the Protective Order already “clearly and unambiguously states that it only
binds the parties in the eTreppid lawsuit and the proceedings in the eTreppid case,” and thus “has
no bearing on Lindell’s ability to defend himself in an unrelated defamation lawsuit in another
district.” Id. at 3. The testimony requested of Wells is equally redundant and unrelated. To the
extent Movants wish to establish that Montgomery was subject to a Protective Order in eTreppid,
that information is already “clearly and unambiguously” established in the public record. Id.
                                                  10
       Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 15 of 18




F.3d 1220, 1222 (D.C. Cir. 2005)). Public records are also exempt from the rule against hearsay.

See Fed. R. Evid. 803(8). Any attempt to compel such testimony already in the public record is

therefore improperly cumulative. See, e.g., Colonial BancGroup, Inc. v. PricewaterhouseCoopers

LLP, 110 F. Supp. 3d 37, 42 (D.D.C. 2015) (granting motion to quash subpoena upon finding that

all relevant documents were publicly available).

       B. The requested testimony regarding Montgomery’s history can be obtained more
          conveniently from Montgomery and is unreasonably duplicative of such
          testimony.

       To the extent that Movants seek non-privileged information regarding “Montgomery’s

work for the federal government,” Mem. 6, such information is far more conveniently obtained

from Montgomery himself.       “Where potentially important legal rights are implicated by a

subpoena and alternative sources are more convenient or less burdensome, those alternatives

should be explored first.” Diamond Servs. Mgmt. Co., LLC, 339 F.R.D. at 339 (cleaned up); see

also Sterne Kessler Goldstein & Fox, PLLC v. Eastman Kodak Co., 276 F.R.D. 376, 385 (D.D.C.

2011) (quashing subpoena of former patent counsel because counsel was not the appropriate source

of information regarding patent interview where respondent could instead depose the patent

examiner and the patent inventor).

       Montgomery is clearly a more convenient, less burdensome, and more logical source

regarding his own history than Wells, whose only association with him was in connection with the

United States’ assertion of the states-secret privilege in eTreppid.      Indeed, Movants have

apparently already subpoenaed Montgomery. See Montgomery’s Mot. to Restrict, eTreppid, No.

6-cv-56 (D. Nev. Nov. 14, 2022), ECF No. 1236 at 3 (requesting the court lift the Protective Order

to allow Montgomery to comply with subpoena from Movants issued in US Dominion and

attaching subpoena as exhibit). Wells’ testimony is thus also “unreasonably cumulative and



                                               11
       Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 16 of 18




duplicative” of the testimony already sought from Montgomery. Am. Fed’n of State, Cnty. & Mun.

Emps., 2022 WL 3655277, at *3 (citation omitted); see also Fed. R. Civ. P. 26(b)(1); accord Watts,

482 F.3d at 509. Wells certainly cannot provide any information regarding Montgomery’s own

history beyond what Montgomery himself can provide. See, e.g., Breiterman v. U.S. Capitol

Police, 323 F.R.D. 36, 54 (D.D.C. 2017) (granting motion to quash testimony subpoena as

unreasonably cumulative and duplicative where requestor “already . . . had an opportunity to obtain

that information from a first-hand source”).

       C. The requested testimony implicates Executive Branch privileges.

       The requested discovery is not proportional to the needs of the case because it implicates

Executive Branch privileges. Despite Movants’ assurance that they seek testimony only as to

“public, non-secret matters,” Mem. 7, Movants seek information covered by the eTreppid

Protective Order. Compare id. at 7–8 (requesting Wells’ testimony that “Montgomery worked on

U.S. government programs that involved information protected by the state secrets privilege” and

that “[t]he information known by Montgomery that Wells was tasked with protecting from at least

2006-2011 continues to be subject to the state secrets privilege today”) with Protective Order ¶¶ 2–

3 (protecting from discovery in eTreppid “the existence or non-existence of any actual or proposed

relationship” between the eTreppid parties, including Montgomery, and any U.S. intelligence

agency, and any “actual or proposed intelligence agency interest in, application of or use of any

technology, software or source code owned or claimed by the Parties”).

       The requested deposition topics therefore could implicate Executive Branch privileges,

belying Movants’ claims to the contrary. See Mem. 7 (admitting that Movants seek testimony

about Wells’ “discussions with Montgomery . . . concerning the scope of the state secrets privilege

and what information Montgomery was permitted to disclose or prohibited from disclosing”). This

potentiality should be dispositive in the Rule 26 proportionality calculus when compared to the
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       Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 17 of 18




dubious relevance of the information sought. 4 Cf. St. John, 274 F.R.D. at 17 (deeming production

of various medical records not proportional because of, inter alia, the “harm to the plaintiff’s

privacy interests from the disclosure”); Vire v. Entergy Operations, Inc., No. 4:15-cv-214, 2016

WL 10576707, at *2 (E.D. Ark. Sept. 28, 2016) (balancing “the government’s interest in

confidentiality” against the plaintiff’s need for certain “highly sensitive information” regarding

nuclear power plants and finding “the need for confidentiality outweighs plaintiffs’ need”).

       Moreover, any deposition would require Wells to engage in “painstaking” parsing of

testimony to avoid disclosure of potentially privileged information, including, as relevant here,

information protected by the state-secrets privilege, the attorney-client privilege, and the attorney

work-product privilege. See Sterne Kessler, 276 F.R.D. at 385 (“Clearly a deposition of [counsel]

would require diligent efforts to avoid disclosure of [privileged information], a painstaking process

that poses risks that other sources of discovery do not.”). Indeed, “[t]o successfully walk the

tightrope between what is discoverable and what is privileged, [Wells] would have to distinguish

what [s]he affirmatively disclosed to third parties more than 17 years ago from [her] own mental

impressions of the case.” United States v. All Assets Held in Acct. No. XXXXXXXX, No. 13-cv-

1832, 2019 WL 95605, at *8 (D.D.C. Jan. 3, 2019). 5




4
        When a discovery request calls for the production of potentially privileged information, a
court may consider questions of relevance before reaching assertions of privilege. See, e.g.,
Alexander v. FBI, 186 F.R.D. 188, 192 (D.D.C. 1999) (finding requested information to be
irrelevant, rendering it unnecessary to reach issue of presidential communications privilege, which
had been bifurcated for later consideration). Thus, “matters of privilege”—including formal
assertion of privilege—“can appropriately be deferred . . . until after the production demand has
been adequately bolstered by a general showing of relevance and good cause.” Freeman v.
Seligson, 405 F.2d 1326, 1338 (D.C. Cir. 1968).
5
        Although Movants emphasize the large amount in controversy in US Dominion, that factor
alone cannot overcome the weight of the grounds for denying the testimony.
                                                 13
       Case 1:21-cv-00445-CJN Document 190 Filed 09/04/23 Page 18 of 18




       Accordingly, the three Watts factors necessitate denying the instant motion as unduly

burdensome.

                                       CONCLUSION
       For the foregoing reasons, the Court should deny Movants’ motion to compel the testimony

of Carlotta Wells.



 Dated: September 4, 2023                       Respectfully submitted,

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                                              14
